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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BULGARI, S.p.A.,

                        Plaintiff,                    Case No. 20-cv-01185

       v.                                             Judge Charles P. Kocoras

XIE JI PING, et al.,                                  Magistrate Judge Young B. Kim

                        Defendants.



                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 8, 2020 [51], in favor of

Plaintiff Bulgari, S.p.A. (“Bulgari”) and against the Defendants Identified in Schedule A in the

amount of five hundred thousand dollars ($500,000) per Defaulting Defendant, and Bulgari

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

              Defendant Name                                        Line No.
               fangshiwei888                                           80

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 24th day of July 2020.    Respectfully submitted,


                                     /s/ Allyson M. Martin________________________
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                                     Justin R. Gaudio
                                     Allyson M. Martin
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